Appellate Case: 23-3102      Document: 010110904598           Date Filed: 08/17/2023       Page: 1



                         UNITED STATES COURT OF APPEALS
                              FOR THE TENTH CIRCUIT

       ENTRY OF APPEARANCE AND CERTIFICATE OF INTERESTED
                            PARTIES
   
   ANTHONY THOMPSON,

                     Plaintiff-Appellant,                  Case No. 23-3103

   v.

   GLEN F. VIRDEN, Senior Special
   Agent, KS Bureau of Investigation, in
   his individual capacity, et al.,

                     Defendants-Appellees.


                  ENTRY OF APPEARANCE (10th Cir. R. 46.1(A))
        In accordance with Tenth Circuit Rule 46.1, the undersigned attorney(s) hereby appear(s)
 as counsel for:

 Glen F. Virden, Senior Special Agent, Kansas Bureau of Investigation, in his individual capacity,
 in the above-captioned case.


 Matthew L. Shoger, KS No. 28151
 Assistant Attorney General
 Name of Counsel

 /s/ Matthew L. Shoger
 Signature of Counsel

 120 SW 10th Avenue, 2nd Floor
 Topeka, KS 66612
 785-296-2215
 Mailing Address and Telephone Number

 matt.shoger@ag.ks.gov
 Email Address
Appellate Case: 23-3102        Document: 010110904598             Date Filed: 08/17/2023         Page: 2



       CERTIFICATE OF INTERESTED PARTIES (10th Cir. R. 46.1(D))



 Pursuant to Tenth Circuit Rule 46.1(D), the undersigned certifies as follows:

 □      The following (attach additional pages if necessary) individuals and/or entities are not
        direct parties in this appeal but do have an interest in or relationship to the litigation and/or
        the outcome of the litigation. See 10th Cir. R. 46.1(D). In addition, attorneys not entering
        an appearance in this court, but who have appeared for a party in prior trial or
        administrative proceedings, are noted below.

       There are no such parties/attorneys, or any such parties/attorneys have already been
        disclosed to the court.


 August 17, 2023
 Date

 /s/ Matthew L. Shoger
 Signature

                                 CERTIFICATE OF SERVICE

       I hereby certify that, on August 17, 2023, I sent a copy of this Entry of Appearance by
 means of first-class mail, postage prepaid, addressed to Plaintiff’s last known address at:


        Albert Dewayne Banks
        750 Shannon Drive
        Romeoville, IL 60446
        Plaintiff, pro se

 08/17/2023
 Date

 /s/ Matthew L. Shoger
 Signature




                                                   2
